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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA                        Criminal no. 20-347 (SCC)
   Plaintiff,
                 v.

 KENNETH TOSADO PEREZ
   Defendant.

        MOTION TO INFORM WAIVER OF APPEARANCE AT ARRAIGNMENT FORM
TO THE HONORABLE COURT:

        Comes now the defendant, Mr. Tosado Pérez, and respectfully states and prays as follows:

        Attached to the current motion is Mr. Tosado Perez's Waiver of Appearance at Arraignment

Form.

        WHEREFORE, the undersigned respectfully requests that the Court takes note of the

present motion.

   RESPECTFULLY SUBMITTED.

   In San Juan, Puerto Rico, this 10th day of November 2020.

   I HEREBY CERTIFY, that on this date the present document has been filed electronically

and is available for viewing and downloading from the Court’s CFM/ECF system by U.S.

Attorney’s Office.


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